Case 1:04-cv-Oll48-.]DT-STA Document 38 Filed 05/17/05 Page 1 0f4 Page|D 34 ,

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

EASTERN DIVISION

TERRY ABELS as Next Friend and )
Guardian Ad Litem for .]ERRY HUNT, )
)
Plaintiff, )
)

v. ) NO.: 04-1148-T-An
)
GENIE INDUSTRIES, INC., )
DUNCAN ELECTRIC COMPANY, and )
RENTAL SERVICE CORPORATION )
(ALSO KNOWN AS RSC), )
)
Defendants. )

 

AGREED AMENDED RULE 16(b) SCHEDULING ORDER

 

By agreement of the pal’ties, the following dates have been established:
INITIAL DISCLOSURES (RULE 26(a)(1)):

RSC: June 15, 2005
DUNCAN ELECTRIC: June 15, 2005

Both Plaintiff and Defendant Genie Industries, Inc. have previously provided Initial
Disclosures and copies of those disclosures Will be made available to the new parties

The parties shall proceed with the exchange of Interrogatories and Request for Production
of Documents. Responses to written discovery shall be served within 45 days from receipt.

DEADL]NE FOR MOTION FOR CHANGE OF VENUE:
FOR DEFENDANTS: May 2, 2005
DEADLINE TO F[LE A RESPONSE TO SUCH MOTION:

FOR PLAINTIFF: June 2, 2005

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with Ru!e 58 and.'or_19 (a) FRCP on , , j §§ _

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All other scheduling deadlines will be held in abeyance until an Order is entered on any

Defendant’s Motion to Dismiss or transfer.

IT IS SO ORDERED.

/ /"'
. /Am/ts ,..J

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: 22;,¢2¥7 12 M’_

 

May 18, 2005 to the parties listed.

Notice of Distribution

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Honorable J ames Todd
US DISTRICT COURT

